      Case 2:12-cr-00004-APG-EJY           Document 788        Filed 08/20/14     Page 1 of 4



     NICHOLAS G. KAIZER
 1   Levitt & Kaizer
 2   40 Fulton Street, 23rd Floor
     New York, NY 10038-5077
 3   Tel. 212 480-4000
     Facsimile 212 480-4444
 4   nkaizer@landklaw.com
 5   District of Nevada ID 2123362
     Attorney for Shiyang Gou
 6
                          IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF NEVADA
 8
       UNITED STATES OF AMERICA,               )                 12 Cr. 0004-APG-GWF
 9                                             )
                 vs.                           )
10                                             )
       SHIYANG GOU,                            )
11
                                               )
12               Defendant.                    )
     __________________________________________)
13
                           THIRD STIPULATION TO CONTINUE
14                      DEFENDANT SHIYANG GOU’S SENTENCING
15
             CERTIFICATION: This pleading is timely filed pursuant to the Court’s November
16
     13, 2013, January 21, 2014 and May 8, 2014 Orders scheduling Shiyang Gou’s sentencing
17
18   date.

19           It is hereby stipulated and agreed, by and between DANIEL BOGDEN, United

20   States Attorney, by AUSA Kimberly Frayn, and, NICHOLAS KAIZER, attorney for
21
     Defendant Shiyang Gou,
22
             That the sentencing of SHIYANG GOU, currently scheduled for September 25,
23
     2014 at 9:00 AM, be continued for ninety (90) days, to December 26, 2014 or any date
24
25   thereafter convenient to the Court.

26           This Stipulation is entered into at the defense request to permit defense counsel to
27   adequately prepare for Mr. Gou’s sentencing. There are matters pending in the Southern
28
                                                  1
      Case 2:12-cr-00004-APG-EJY           Document 788        Filed 08/20/14      Page 2 of 4



 1          District of New York and the District of Nevada which may impact on Mr. Gou’s
 2
     ultimate sentence.
 3
            Those matters will not likely be concluded before Mr. Gou’s scheduled sentencing.
 4
            Mr. Gou is not in custody and specifically requests this continuance and waives any
 5
 6   right to a speedy sentencing he may have.

 7          The requested continuance is not sought for purposes of delay.
 8          This is Mr. Gou’s third stipulated request for a continuance of sentence.
 9
     Dated: August 20, 2014
10
     DANIEL BOGDEN
11   United States Attorney
12
13                     /s/
     By:    ___________________________
14          Assistant United States Attorney
            KIMBERLY FRAYN
15
16
17
     LEVITT & KAIZER
18
19
20   By:    _______________________
21          Nicholas Kaizer
            40 Fulton Street, 23rd Floor
22          New York, NY 10038-5077
            Tel. 212 480-4000
23          Facsimile 212 480-4444
            nkaizer@landklaw.com
24
            District of Nevada ID 2123362
25          Attorneys for Shiyang Gou

26
27
28

                                                  2
            Case 2:12-cr-00004-APG-EJY                             Document 788                    Filed 08/20/14                 Page 3 of 4




 1
                                       IN THE UNITED STATES DISTRICT COURT
 2                                          FOR THE DISTRICT OF NEVADA

 3           UNITED STATES OF AMERICA,                )                                               12 Cr. 0004-APG-GWF
                                                      )
 4
                       vs.                            )
 5                                                    )
             SHIYANG GOU,                             )
 6                                                    )
                       Defendant.                     )
 7          ___________________________________ ______)
 8
                                                            FINDINGS OF FACT
 9
                 Based on the August 19, 2014 Stipulation of counsel for Shiyang Gou and counsel
10
11   for the government, and good cause appearing therefor, the Court hereby finds that:

12               1. That	   counsel	   for	   Defendant	   has	   requested	   additional	   time	   to	   effectively	  

13   prepare	   for	   Mr.	   Gou’s	   sentencing	   and	   the	   government	   has	   no	   objection	   to	   a	   ninety	  
14
     (90)	  day	  continuance	  of	  Mr.	  Gou’s	  sentencing,	  currently	  scheduled	  for	  September	  25,	  
15
     2014,	  to	  December	  26,	  2014	  or	  to	  a	  date	  convenient	  to	  the	  Court.	  
16
17                                                        CONCLUSIONS	  OF	  LAW

18   	          Based	  on	  the	  facts	  set	  forth	  above,	  the	  Court	  hereby	  concludes	  that	  the	  ends	  of	  

19   justice	  are	  best	  served	  by	  granting	  this	  continuance	  of	  Shiyang	  Gou’s	  sentencing,	  since	  
20
     the	   failure	   to	   grant	   said	   continuance	   would	   likely	   to	   result	   in	   a	   miscarriage	   of	   justice,	  
21
     would	  deny	  the	  parties	  herein	  sufficient	  time	  and	  opportunity	  within	  which	  to	  be	  able	  
22
23   to	  effectively	  and	  thoroughly	  prepare	  for	  sentencing.	  	  

24   	  

25   	  
26
     	  
27
     	  
28
                                                                              1
     	   Case 2:12-cr-00004-APG-EJY       Document 788       Filed 08/20/14      Page 4 of 4




 1
 2                                            ORDER

 3          IT IS HEREBY ORDERED that Shiyang Gou’s sentencing, currently scheduled for
 4
     September 26, 2014 at 9:00 AM shall be and is hereby continued to __________________,
                                                                       January
                                                                        January 15,
                                                                                15, 2015
                                                                                    2014 at
                                                                                         at 9:30
                                                                                            9:30 a.m.,
                                                                                                 a.m.,
 5
     at _______ in Courtroom 6C.
 6
            Dated this ____
                       20th day of August , 2014
 7
 8                                                       SO ORDERED:

 9
10                                                       ____________________________
11                                                       HON. ANDREW P. GORDON
                                                         United States District Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   2
